Case 20-43378    Doc 13    Filed 10/16/20 Entered 10/16/20 09:13:43      Main Document
                                        Pg 1 of 2


                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

In Re:                                   )     Case No. 20-43378-659
                                         )     Chapter 7   #11    10/19
Latesha Renee Ross,                      )
                                         )
                    Debtor(s).           )     Motion to Compel Turnover of
                                         )     Documents
                                         )
                                         )
D. Matthew Edwards, Trustee,             )
                                         )
                    Movant,              )
                                         )
v.                                       )
                                         )
Latesha Renee Ross,                      )
                                         )
                    Respondent(s).       )

      ORDER GRANTING MOTION TO COMPEL TURNOVER OF DOCUMENTS

        This matter is before the Court in the Chapter 7 Trustee’s Motion for Order
Compelling Turnover of Documents and having given notice and no responses to the
same being filed and being fully advised in the premises, it is hereby
        ORDERED that the Trustee’s Motion for Order Compelling Turnover of
Documents is GRANTED BY DEFAULT in that this Court orders the Debtor Latesha
Renee Ross to deliver to the Trustee, D. Matthew Edwards, within fourteen (14) days
from entry of this order the following complete items: bank statements for all accounts
verifying balance(s) on the date this bankruptcy case was filed and a copy of Debtor’s
personal injury claim file.


                                                      KATHY A. SURRATT-STATES
                                                       Chief U.S. Bankruptcy Judge
DATED: October 16, 2020
St. Louis, Missouri
jjh
Case 20-43378    Doc 13      Filed 10/16/20 Entered 10/16/20 09:13:43   Main Document
                                          Pg 2 of 2




COPIES TO:

U.S. Trustee’s Office
111 S. 10th Street, Room 6353
St. Louis, MO 63102


D. Matthew Edwards
PO Box 67
Sikeston, MO 63801
Chapter 7 Trustee

Latesha Renee Ross
10130 Chaucer Ave., Apt. C
St. Louis, MO 63114
Debtor

Douglas M. Heagler
901 Boones Lick Rd.
Saint Charles, MO 63301
Attorney for Debtor
